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                                  UNITED STATES DISTRICT COURT
                                NORTHERN DISTRICT OF CALIFORNIA

Case No: 3:22-cr-00426-JSC-1
Case Name: United States of America v David Wayne Depape

                               TRIAL SHEET, EXHIBIT and WITNESS LIST

 JUDGE:                           COUNSEL FOR USA:                        COUNSEL FOR DEFENDANT:
 Jacqueline Scott Corley          Helen Gilbert/Laura Vartain             Angela Chuang/Jodi Linker
 TRIAL DATE:                      COURT REPORTER:                         CLERK:
 November 13, 2023(Day 3)         Ruth Ekhaus                             Ada Means

 GOVT.    DEFT.   DATE/TIME
 NO.      NO.     OFFERED         ID    REC     DESCRIPTION
                  8:17 a.m.                     Count reconvenes. Outside the presence of the jury, Court and
                                                counsel confer re: exhibits and witnesses. The following
                                                exhibits were marked and admitted into evidence:

                                                Government’s exhibit nos. 10-20, 116, 146, 148, 228 to 237,
                                                250, 268-271, 274, 276-282, 284 to 288, 290-293, 295, 297,
                                                298, 305, 310, 321, and 322.

                                                Defendant’s exhibit nos. 151, 240-244, 247, and 248.

                  8:36 a.m.                     The jury is now present in the courtroom. GARY
                                                GRYZMALA is sworn as a witness for the government and
                                                is under direct examination by Ms. Vartain.
                  8:50 a.m.                     Gary Gryzmala is under cross examination by Ms. Chuang.
                  8:51 a.m.                     Gary Gryzmala is excused. TIMOTHY CLARK is sworn as
                                                a witness for the government and is under direct examination
                                                by Ms. Vartain.
                  8:58 a.m.                     Timothy Clark is excused. JONATHAN GUERRA is sworn
                                                as a witness for the government and is under direct
                                                examination by Ms. Gilbert.
                  9:03 a.m.                     Jonathan Guerra is excused. DWIGHT LITTLEJOHN is
                                                sworn as a witness for the government and is under direct
                                                examination by Ms. Vartain.
                  9:17 a.m.                     Dwight Littlejohn under cross examination by Ms. Linker.
          511     9:21 a.m.       X      X      Ms. Pelosi’s Scheduler. *Provisionally admitted.
                  9:31 a.m.                     Dwight Littlejohn is excused. JASON MATTHES is sworn
                                                as a witness for the government and is under direct
                                                examination by Ms. Gilbert.
                  9:41 a.m.                     Jason Matthes is excused. Stipulation by the parties read into
                                                the record by Ms. Gilbert.
                  9:45 a.m.                     Court called for the morning recess.
                  10:02 a.m.                    Court reconvenes, all parties and the jury are present. WING
                                                NG is sworn as a witness for the government and is under
                                                direct examination by Ms. Gilbert.

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        10:31 a.m.             Wing Ng under cross examination by Ms. Chuang.
593     10:35 a.m.   X     X   Ng’s report “Target 1”
592     10:37 a.m.   X     X   Ng’s report “Tom Hank’s House”
        10:39 a.m.             Wing Ng is excused. STEPHANIE MINOR is sworn as a
                               witness for the government and is under direct examination by
                               Ms. Gilbert.
        11:44 a.m.             Court called for the noon recess.
        12:34 p.m.             Court reconvenes, all parties and the jury are present.
                               Stephanie Minor resumes the witness stand and is under
                               further direct examination by Ms. Gilbert.
        1:24 p.m.              Stephanie Minor under cross examination by Ms. Linker.
579     1:43 p.m.    X     X   Article found in Depape’s apartment.
        2:00 p.m.              Court called for a brief recess.
        2:13 p.m.              Court reconvenes, all parties and the jury are present.
                               Stephanie Minor resumes the witness stand and is under
                               further cross examination by Ms. Linker.
500     2:18 p.m.    X     X   Frenlyfrens Blog
        2:24 p.m.              Stephanie Minor is excused. PAUL PELOSI is sworn as a
                               witness for the government and is under direct examination by
                               Ms. Vartain.
        3:01 p.m.              Paul Pelosi is excused. The jury is excused for the day.
        3:03 p.m.              Outside the presence of the jury, Court and counsel confer re:
                               trial schedule.
511     3:06 p.m.    X    X    Outside the presence of the jury, Court hears arguments on
                               Defendant’s exhibit no. 511. The exhibit is admitted.
        3:17 p.m.              Court is adjourned for the day. The matter is continued to
                               November 14, 2023 for further jury trial.




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